IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

UNITED STATES ex re/. TAYLOR, §
§
Plaintiff, §
§

Vv. § Civil No. 3:19-CV-2486-N
§
HEALTHCARE ASSOCS. OF TEXAS, — §
etal., §
§
Defendants. §

VERDICT OF THE JURY

We, the jury, have answered the above questions as indicated, and now return
those questions and answers to the Court as our verdict.
SIGNED this _\ &Yh day of November, 2024.
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PRESIDING JUROR

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